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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                           ϭϮͬϭϳͬϮϬϮϭ
 D George Sweigert,

                               Plaintiff,
                                                              1:18-cv-08653 (VEC) (SDA)
                   -against-
                                                              ORDER
 Jason Goodman,

                               Defendant.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

       The Court is in receipt of Plaintiff’s Letter indicating that he wishes to conduct Defendant’s

deposition via telephone. (See ECF No. 344.) The Court will host the deposition using the Court’s

conference line: (888) 278-0296 (or (214) 765-0479) with access code 6489745. Only Plaintiff;

Defendant; any counsel retained by Plaintiff and/or Defendant; an independent stenographer

authorized to administer the Oath; and the Court may attend the deposition. No later than

February 1, 2022, Plaintiff shall file a letter indicating the name, email address and telephone

number of the stenographer. Thereafter, the Court will provide the necessary parties a security

code to access the conference.

       The Clerk of Court is respectfully requested to mail a copy of this Order to the pro se

Defendant.

SO ORDERED.

DATED:        New York, New York
              December 17, 2021

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                                                     STEWART D. AARON
                                                     United States Magistrate Judge
